        Case 1:19-cv-12177-LTS Document 49 Filed 12/02/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


COMMONWEALTH OF
MASSACHUSETTS
              Plaintiff,
v.

MIGUEL CARDONA, in his official
capacity as Secretary of the United States                Civil Action No. 19-12177-LTS
Department of Education, and THE UNITED
STATES DEPARTMENT OF EDUCATION,
                      Defendants.


                                    JOINT STATUS REPORT

      The parties to this lawsuit are filing this status report to inform the Court that:

  1. On July 10, 2020, the Parties in the above-captioned case filed a Joint Status Report, ECF Dkt.

      No. 39, agreeing that the Court’s judgment in Vara et al v. DeVos (“Vara”), Civil Case No. 19-

      cv-12175-LTS, resolved the claims raised by the Commonwealth in the present action. On August

      24, 2020, the Department of Education (Education) filed a notice of appeal in Vara.

  2. On September 1, 2020, the Court entered an Order staying this litigation pending dismissal or

      resolution of the Vara appeal. ECF Dkt. No. 42.

  3. On July 21, 2021, the United States Court of Appeals for the First Circuit entered a judgment in

      which it ordered that the government’s appeal of the Court’s decision in this matter be voluntarily

      dismissed under Fed. R. App. 42(b).

  4. On November 18, 2021, the Court in Vara held a status conference, after which the Court

      determined it will administratively close the Vara case. The Court in Vara requested that the

      Parties in the above-captioned case file a stipulation indicating that this case is dismissed as moot,

      while reserving the Commonwealth’s right to reopen the case at any point between now and May

      2, 2022 if the Commonwealth believes the order is not moot.

  5. The Parties in the above-captioned case agree to dismissal of this case as moot, and the
  Case 1:19-cv-12177-LTS Document 49 Filed 12/02/21 Page 2 of 3



Commonwealth requests that the Court grant the Commonwealth the right to reopen the above-

captioned case at any point between now and June 2, 2022 if the Commonwealth believes the

order is not moot. Education assents to this request.



                                          Respectfully submitted,


                                          FOR THE PLAINTIFF,
                                          COMMONWEALTH OF MASSACHUSETTS,

                                          MAURA HEALEY
                                          ATTORNEY GENERAL


                                    By: /s/ Yael Shavit
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                                          FOR THE DEFENDANTS,
                                          UNITED STATES DEPARTMENT Of
                                          EDUCATION AND MIGUEL CARDONA,

                                          NATHANIEL R. MENDELL
                                          ACTING UNITED STATES ATTORNEY


                                    By: /s/ Annapurna Balakrishna
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                                             2
Case 1:19-cv-12177-LTS Document 49 Filed 12/02/21 Page 3 of 3




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